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                         16
                                               CENTRAL DISTRICT OF CALIFORNIA
                         17
                                                             WESTERN DIVISION
                         18
                         19
                         20   OX LABS, INC.,                           Case No. 2:18-cv-05934-MWF-KS

                         21                     Plaintiff,             DEFENDANT BITPAY, INC.’S
                                                                       MEMORANDUM OF
                         22   vs.                                      CONTENTIONS OF FACT
                         23   BITPAY, INC. and Does 1-10,              AND LAW
                         24
                                                Defendants.
                         25
                         26
                         27
                         28

                                    DEFENDANT BITPAY, INC.’S MEMORANDUM OF CONTENTIONS OF
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                          1           Pursuant to Local Rule 16-4 and the Court’s Order Re: Defendant BitPay,
                          2   Inc.’s Motion for Summary Judgment (Doc. 36), Defendant BitPay, Inc. (“BitPay”)
                          3   respectfully submits the following Memorandum of Contentions of Fact and Law.
                          4                      BITPAY’S CONTENTIONS OF FACT AND LAW
                          5   I.      INTRODUCTION
                          6
                              At a high level, BitPay sees the issues in the lawsuit as relatively narrow:
                          7         1. BitPay is not liable for conversion because it did nothing wrongful and
                          8             already tendered unconditionally the value of Ox Labs’ error. For clarity,
                                        in its order on Motion for Summary Judgment the Court termed this
                          9             payment an “offer of settlement.” The payment was not an offer, it was
                         10             an unconditional payment not linked to any settlement or release.
                         11           2. BitPay is not liable for unjust enrichment because it has received no
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                         12              benefit other than the amount it already unconditionally paid.

                         13           3. BitPay never had the 200 bitcoin – it was merely a ledger error, the
                                         bitcoin was either sold or transferred to another exchange on which it was
                         14              sold. Even if BitPay can be deemed to have possession of the erroneous
                         15              bitcoin, they have been liquidated and are not connected to any ongoing
                                         holdings or other purchases. This is the largest fallacy in Ox Labs’
                         16
                                         position – a complete disconnect between the assets erroneously
                         17              transferred, and any ongoing or present holdings – which is required by
                                         all case law cited by Ox Labs.
                         18
                         19           4. If BitPay is liable, the following is BitPay’s contention regarding the
                                         appropriate remedy:
                         20
                                            a. If there was an award of damages, one issue is whether the
                         21
                                               measure of damages is as of the date of the error or some other
                         22                    date. BitPay’s contention is that it is at the date of the error for the
                                               reasons stated in its motion for summary judgment and the Court’s
                         23
                                               resulting order. In its Order on Motion for Summary Judgment, the
                         24                    Court indicated agreement that the date of measure is the date of
                                               the error, leaving open the question of the value on that day.
                         25
                         26                 b. 200 bitcoin are not subject to transfer to Ox Labs, both generally
                                               and in the context of the facts of this lawsuit:
                         27
                         28
                                                                           1
                                   PLAINTIFF PAVO SOLUTIONS, LLC’S MEMORANDUM OF CONTENTIONS OF
                                                           FACT AND LAW
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                          1                     i. In its Order on Summary Judgment, the Court confirms that
                                                   regardless of the actual facts, Krueger v. Wyeth, Inc., 2019
                          2                        WL 2743942 (C.D. Cal. July 1, 2019), confirms that Ox
                          3                        Labs is not entitled to the value of the increased value in the
                                                   bitcoins absent special circumstances (none of which are
                          4                        present here), which is exactly what would happen if an
                          5                        ultimate award were to order transfer of 200 bitcoins –
                                                   meaning the risk and burden of investment would have been
                          6                        changed in hindsight to BitPay, resulting in a windfall.
                          7                        Indeed, such a result would give Ox Labs carte blanche to
                                                   decide which of BitPay’s trades or non-trades it likes in
                          8                        hindsight, which is exactly what Ox Labs has done by
                          9                        seeking valuations on different dates.

                         10                    ii. As a general matter, bitcoin is a commodity that is traded
                         11                        and changes in value. It would be improper, invalid, and
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                                                   inequitable to force a transfer of an asset that puts the
                         12                        plaintiff in a better position than defendant, especially when
                         13                        the defendant committed no wrongdoing. Such relief would
                                                   also switch the decision-making and risk of investment to
                         14                        the defendant, giving a potential windfall to plaintiff.
                         15
                                               iii. Factually, there is no connection between the error and any
                         16                         ongoing benefit to or holdings by BitPay. In its Motion for
                                                    Summary Judgment the Court also noted that “both parties
                         17
                                                    agree that “it is not possible to trace the 200 Bitcoins to any
                         18                         particular transaction . . . . Given this limitation it seems
                                                    equitable to determine the value of the 200 Bitcoins on the
                         19
                                                    day that Plaintiff erroneously credited Defendant.” As it did
                         20                         not do on summary judgment, Ox Labs simply cited to the
                                                    error, and that it demanded a “return” when BitPay disclosed
                         21
                                                    the error. All case law cited by Ox Labs has a critical
                         22                         component that Ox Labs cannot show – identification of
                                                    property that can be subject to transfer. Here, there is
                         23
                                                    nothing to “return.” BitPay never had the bitcoin in the first
                         24                         place, it was just a ledger entry that was either traded or
                         25                         withdrawn to another platform and traded there. Notably,
                                                    BitPay executed trades to the zero level on the trading
                         26                         exchanges it used. This is necessary because BitPay enables
                         27                         customers to make and receive bitcoin payments, but the
                                                    customer desires cash. Thus, BitPay needs to acquire and
                         28                         liquate bitcoin on a regular basis. All trading exchanges
                                                                         2
                                    DEFENDANT BITPAY, INC.’S MEMORANDUM OF CONTENTIONS OF
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                          1                            connected in any way to the error, even in theory, were
                                                       zeroed out within days of the error, as is normal practice.
                          2                            BitPay thus only realized the cash from the disposition of
                          3                            the bitcoin. Simply because BitPay happens to have bitcoin
                                                       in other accounts does not give rise to a remedy to transfer
                          4                            any such bitcoin.
                          5                       iv. BitPay also makes trading decisions based on balances. Ox
                          6                           Labs now seeks to undo trading decisions.
                          7
                                                   v. The only case cited by Ox Labs that purports to address an
                          8                           alleged fungible nature of bitcoin, Horn v. Klatt, a 1944
                          9                           case, actually supports BitPay. Horn stood for the
                                                      proposition that a party is entitled to a return of things of the
                         10                           same kind of quality. Horn of course did not address
                         11                           bitcoins or any commodity. Unlike a dollar, for example,
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                                                      Bitcoins are not the same kind of quality from day to day.
                         12
                         13                       vi. BitPay believes this is a question for the Court.

                         14   II.   CLAIMS AND DEFENSES (L.R. 16-4.1)

                         15         A.       Summary Statement of the Claims Ox Labs Pleaded

                         16         Ox Labs asserts the following claims against BitPay:

                         17   Claim 1: Conversion.

                         18   Claim 2: Unjust enrichment.

                         19         B.       Elements Required to Establish Ox Lab’s Claims

                         20         To prevail on its conversion claim, Ox Labs must prove the following

                         21   elements:

                         22              Elements Required to Establish Plaintiff’s Claim for Conversion:

                         23         1. Ox Lab’s ownership or right to possession of the property at the time of

                         24               the conversion,

                         25         2. BitPay’s conversion by a wrongful act or disposition of property rights,

                         26            and
                                    3. Damages. Pursuant to Cal. Civ. Code § 3336, in an action for conversion
                         27
                                          a plaintiff may recover:
                         28
                                                                          3
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                          1               a. (1) the value of the property at the time of the conversion, with the

                          2                   interest from that time; or

                          3               b. (2) an amount sufficient to indemnify the party injured for the loss

                          4                   which is the natural, reasonable and proximate result of the wrongful

                          5                   act complained of and which a proper degree of prudence on his part

                          6                   would not have averted.

                          7   See Prakashpalan v. Engstrom, Lipscomb & Lack, 223 Cal. App. 4th 1105, 167 Cal.
                          8   Rptr. 3d 832 (2014); Cal. Civ. Code § 3336.
                          9          4. Ox Labs seeks an alternate remedy of “return” of the bitcoin. There is no

                         10            known legal authority to support such relief with regard to the type of

                         11            asset at issue – one that changes in value, is part of prior trading
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                         12            decisions, and is not possessed by the defendant. The result may be

                         13            different if the asset at issue were simply filed away – no case law

                         14            suggests the same result where the asset is subject to and in fact was part

                         15            of the mix of trading and trading decisions. There is no connection

                         16            between the error and any ongoing bitcoin holdings. Ox Labs’ position is

                         17            rather simplistic yet false – it wants judicial approval for the fact that it is

                         18            entitled to a transfer of other bitcoin that have a dramatically different
                         19            value simply because BitPay happens to have other bitcoin that were in
                         20            no way affected by the error. As noted above, the closest case cited by
                         21            Ox Labs was Horn v. Klatt, a 1944 case, which actually supports BitPay.
                         22            Bitcoin that BitPay happens to own is not of the same quality or value as
                         23            the bitcoin at the time of the error. Ox Labs seeks a windfall, using
                         24            investment decisions of BitPay, to take advantage of its own error.
                         25        Elements Required to Establish Plaintiff’s Claim for Unjust Enrichment:
                         26         1. BitPay’s receipt of a benefit; and
                         27         2. Unjust retention of the benefit at the expense of Ox Labs.
                         28
                                                                         4
                                    DEFENDANT BITPAY, INC.’S MEMORANDUM OF CONTENTIONS OF
                                                         FACT AND LAW
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                          1    In re ConAgra Foods Inc., 908 F. Supp. 2d 1090, 1113 (C.D. Cal. 2012). The facts
                          2    show that BitPay quickly traded the erroneous bitcoin and realized approximately
                          3    $57,000, which has been paid to Ox Labs.
                          4          C.     Key Evidence in Opposition to Ox Labs’ Claims
                          5                                    Claim 1: Conversion
                          6          BitPay intends to present the following evidence establishing that a
                          7    conversion did not occur as there was no wrongful act by BitPay, or in the
                          8    alternative, if conversion is found the only allowable measure of damages is the
                          9    value of the property at the date of the alleged conversion, on July 10, 2015.
                         10               • BitPay makes bitcoin deposits to exchanges such as SFOX

                         11                  throughout the day as BitPay accumulates bitcoin through its regular
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                         12                  services. These deposits are typically in blocks of 100 coins or so.

                         13                  Gallippi Declaration ¶ 3.1

                         14               • Orders to sell bitcoin for cash are placed throughout the day, but they
                         15                  are asynchronous and not connected to the deposits. Sell orders are
                         16                  typically based on market activity and liquidity. It is not uncommon
                         17                  for BitPay to let deposits accumulate at the exchange for several
                         18                  hours or days if the market was not good for selling, and it is not
                         19                  uncommon for BitPay to make many sales during the day. Therefore,
                         20                  there is no reason for BitPay to notice any bitcoin balance being out
                         21                  of balance, including on July 10, 2015, or at any other time prior to
                         22                  the error being discovered on February 2017. Gallippi Decl. ¶ 5.
                         23               • The transaction record printed from SFOX’s platform for July 2015
                         24                  reflects that on July 10, 2015 (the same date as alleged in the
                         25                  Complaint), at 17:46 there were two deposits of 100 bitcoins each.
                         26
                         27
                               1Declarations cited herein refer to those filed with BitPay’s Motion for Summary
                         28    Judgment (D.I. 29).
                                                                         5
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                          1                These are the 200 bitcoins SFOX erroneously credited to BitPay. The

                          2                transaction record also reveals two sales of 100 bitcoin each on July

                          3                10, 2015 at 23:58 and 23:59 netting proceeds of $28,603.45 and

                          4                $28,613.11, respectively, for a total of $57,216.56. Minus fees, the net

                          5                proceeds were $57,029.59. Getch Decl. ¶ 5 and Exhibit C thereto;

                          6                Gallippi Decl. ¶ 7 and Exhibit A thereto.

                          7             • This transaction register also reflects the daily and ongoing buy-sell

                          8                nature of BitPay transactions on the SFOX platform. Getch Decl. ¶

                          9                6; Gallippi Decl. ¶ 8.
                         10             • The evidence will also show that at best, the erroneous bitcoin was
                         11                transferred to alternate trading platforms, Kraken and ItBit, shortly
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                         12                after the error, and that those accounts were then liquidated to zero.
                         13                This is the nature of the business. Shortly after the error, SFOX,
                         14                Kraken, and ItBit were traded to zero, meaning any connection to the
                         15                error, except for dollar amounts realized, was lost. This is a
                         16                necessary part of the business, as BitPay’s business is to enable
                         17                customers to accept and pay for services via bitcoin, but the
                         18                customers want cash, meaning BitPay as a natural process must often
                         19                liquidate bitcoins.
                         20             • Akbar Thobani of Ox Labs also sent a communication to Bryan
                         21                Krohn at BitPay that confirms the same deposits reflected on the July
                         22                2015 transactional record. Getch Decl. ¶ 7 and Exhibit C thereto;
                         23                Kunin Dec. ¶ 3 and Exhibit A thereto. Mr. Thobani’s communication
                         24                also states that the error was discovered as part of a standard account
                         25                reconciliation process, which the Complaint ¶ 15 alleges was
                         26                February 16, 2017.
                         27             • Mr. Thobani’s communication omits the sale of 200 bitcoin on July
                         28                10, 2015, although it refers to a withdrawal of 200 bitcoin on July 11,
                                                                        6
                                     DEFENDANT BITPAY, INC.’S MEMORANDUM OF CONTENTIONS OF
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                          1                 2015. Although this does not align with the 200 erroneously

                          2                 deposited and sold bitcoin, even if it did, the transaction record

                          3                 reflects that the trading price closest in time would be the entry on

                          4                 July 11, 2015 at 8:53, at which the trading price was $295, netting

                          5                 $59,000. Minus fees, that would be is $58,823.00.

                          6              • Given the ongoing buy-sell nature of bitcoins, it is not possible to

                          7                 trace these 200 bitcoins to any particular transaction, but BitPay is

                          8                 not a bank that deposits and retains bitcoins such that the particular

                          9                 bitcoins at issue would still be possessed by BitPay. Rather, BitPay’s
                         10                 only benefit from the erroneously deposited bitcoins is the net
                         11                 $57,029.59 it realized from the sale on July 10, 2015. Getch Decl. ¶
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                         12                 8; Gallippi Decl. ¶ 9. This is further described above.
                         13              • There was no wrongful act on the part of BitPay, as neither BitPay
                         14                 nor Ox Labs discovered the error until BitPay was the one to notify
                         15                 counsel of the crediting error. Getch Decl. Ex. A.
                         16              • On July 12, 2017, BitPay, through counsel, unconditionally sent
                         17                 counsel for Ox Labs a check payable to San Francisco Open
                         18                 Exchange (“SFOX”) a check in the amount of $57,216.55. Kunin
                         19                 Decl. ¶ 2 and Exhibit A thereto.
                         20              • The error by SFOX was on July 10, 2015 (Complaint ¶ 11), and the
                         21                 Complaint was filed on July 6, 2018 (Doc. 1), which is almost three
                         22                 years after the error.
                         23                                Claim 2: Unjust Enrichment
                         24          In addition to the evidence above, BitPay intends to present the following
                         25    evidence and categories of evidence establishing that it would be Ox Labs who
                         26    would be unjustly enriched by the windfall of 200 bitcoins at their present value:
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                          1          • Evidence and testimony regarding the valuation of 200 bitcoins on the day
                          2             that the crediting error occurred. BitPay’s transaction record states that
                          3             two sales of 100 bitcoin each were made on July 10, 2015 at 23:58 and
                          4             23:59 netting proceeds of $28,603.45 and $28,613.11, respectively for a
                          5             total of $57,216.56. Getch Decl. ¶ 5 and Exhibit C thereto; Gallippi Decl.
                          6             ¶ 7 and Exhibit A thereto.
                          7          • Testimony from BitPay employees that they often zero out BitPay’s
                          8             bitcoin on trading exchanges, making it impossible to trace Ox Lab’s
                          9             specifically claimed 200 bitcoins, let alone allowing for the possibility that
                         10             such 200 bitcoins remained in BitPay’s possession for over four years. This
                         11             is part of ordinary business practice.
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                         12          • BitPay’s only benefit from the erroneously deposited bitcoins is the net
                         13             $57,029.59 it realized from the sale on July 10, 2015. Getch Decl. ¶ 8;
                         14             Gallippi Decl. ¶ 9.
                         15          • Ox Labs’ contention that BitPay was unjustly enriched not only by the 200
                         16             bitcoins allegedly retained, but by 200 Bitcoin Gold and 200 Bitcoin Cash
                         17             is impossible to prove. Ox Labs contended in their Opposition to BitPay’s
                         18             Motion for Summary Judgment (Dkt. 31) that in August and October of
                         19             2017, any person who possessed Bitcoin was subject to two “hard forks”
                         20             during which possessors of Bitcoin also received the same number of new
                         21             virtual currencies called Bitcoin Gold and Bitcoin Cash. Opposition Brief
                         22             at 2-3. Ox Labs provides no proof that a) BitPay retained an extra 200
                         23             bitcoins past July 2015 when the crediting error occurred; b) that Ox Labs
                         24             would have continued to possess those specific 200 bitcoins for over two
                         25             years in order to collect said “hard forks.” Furthermore, Bitcoin is a
                         26             commodity. See, e.g., Commodity Futures Trading Commission v. My Big
                         27             Coin Pay, Inc., 334 F. Supp. 3d 492 (D. Mass. 2018). Unlike currency
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                          1                 such as a dollar, a commodity changes in quality and value, and is subject
                          2                 to trading and investment decisions.
                          3          D.        Summary of Defendant’s Counterclaims and Affirmative
                                               Defenses
                          4
                          5          BitPay has not asserted any counterclaims against Ox Labs.
                          6          BitPay has pleaded the following affirmative defenses:
                          7          First Affirmative Defense (Failure to State a Claim Upon Which Relief Can
                          8    be Granted: BitPay asserts that the Complaint fails to state a claim upon which relief
                          9    can be granted.
                         10          Second Affirmative Defense (Statute of Limitations): Ox Labs’ claims are
                         11    barred by (i) a two year statute of limitations on conversion of intangible property;
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                         12    and (ii) the unavailability of a claim for unjust enrichment where there is an adequate
                         13    remedy at law. Conversion provides an adequate remedy at law, or if the underlying
                         14    conversion claim has expired, the unjust enrichment claim has as well.             The
                         15    discovery error does not apply, as it was Ox Labs’ own error to discover.
                         16          Third Affirmative Defense (Payment): The claims are barred by payment.
                         17          Fourth Affirmative Defense (Ox Labs’ Bitcoin is No Longer in BitPay’s
                         18    Possession): The claims are barred because BitPay no longer has the bitcoin at issue
                         19    to return.
                         20          Fifth Affirmative Defense (Remedy for Conversion Has Already Been
                         21    Tendered): Ox Labs’ claim for 200 bitcoin is barred by Cal. Civ. Code § 3336, which
                         22    states that the remedy for conversion is the value of the property at the time of the
                         23    conversion, which was already unconditionally tendered by BitPay to Ox Labs. For
                         24    clarity, in its order on Motion for Summary Judgment the Court termed this payment
                         25    an “offer of settlement.” The payment was not an offer, it was an unconditional
                         26    payment not linked to any settlement or release. Additionally, the alternative remedy
                         27    for damages that Ox Labs seeks under § 3336 is unavailable as Ox Labs has not pled
                         28    special circumstances warranting an alternative remedy, and it would entail a
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                          1    manifestly unjust outcome to BitPay, explicitly disallowed by the California courts.
                          2    Also, as addressed here, a so-call “return” of the bitcoin is not an available remedy.
                          3           Sixth Affirmative Defense (Barred by Laches, Waiver and/or Estoppel): A
                          4    claim for unjust enrichment is barred as BitPay is an innocent recipient who has
                          5    committed no misconduct in the transaction concerned and bears no responsibility
                          6    for the unjust enrichment in question.
                          7           E.       Elements Required to Establish Defendants’ Affirmative
                                               Defenses
                          8
                          9              Elements Required to Establish BitPay’s First Affirmative Defense
                         10                  Of Failure to State a Claim Upon Which Relief Can Be Granted
                         11           1. The Complaint fails to state a claim upon which relief can be granted
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                         12    against BitPay. Fed. R. Civ. Proc. Rule 12.
                         13           Elements Required to Establish BitPay’s Second Affirmative Defense
                         14                                    of Statute of Limitations
                         15           1. Bitcoins are an intangible asset and therefore the two-year statute of
                         16    limitations apply. Cal. C.C.P. § 339; Neel v. Magana, Olney, Levy, Cathcart &
                         17    Gelfand, 6 C3d 176, 182 (1971). As also stated by Ox Labs: Symphony FS, Ltd. v.
                         18    Thompson, No. 5:18-cv-3904, 2018 U.S. Dist. LEXIS 214641, at *1 n.1 (E.D. PA.
                         19    Dec. 20, 2018) (“Bitcoin is the most prominent example of cryptocurrency, an
                         20    electronic form of currency with no tangible format”) (emphasis added) (cited by
                         21    Plaintiff).
                         22           2. The statute of limitations on a conversion claim runs from the date of taking
                         23    (or other act of conversion), even if plaintiff is unaware of the taking. AmerUS Life
                         24    Ins. Co. v. Bank of America, N.A., 143 CA4th 631, 639 (2006); Cal. Civ. Code.
                         25    §38(c).
                         26           3. Tolling of the statute of limitations should not apply, as tolling applies
                         27    “until the beneficiary ought to have discovered the existence of the cause of action
                         28    for conversion” and Ox Labs did not undertake any efforts to reasonably ascertain
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                          1    discovery of the error. Strasberg v. Odyssey Group, Inc., 51 CA4th at 917 (1996).
                          2    Indeed, it was their own error in their own control.
                          3            Elements Required to Establish BitPay’s Third Affirmative Defense
                          4                                          of Payment
                          5          1. BitPay in good faith tendered the full amount of the proceeds from the
                          6    sale of the 200 bitcoins on July 10, 2015, the day of the inadvertent credit error, as
                          7    full satisfaction of the claim, and the amount was unliquidated/subject to a bona
                          8    fide dispute, and the claimant obtained payment of the instrument. Regents of
                          9    Univ. of California v. Global Excel Mgmt., Inc., Case No.: SA CV 16-0714-DOC
                         10    (Ex), 2017 WL 3579704 (C.D. Cal. 2017). This payment was unconditional and
                         11    not tied to any settlement or release.
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                         12           Elements Required to Establish BitPay’s Fourth Affirmative Defense
                         13                that Ox Labs’ Bitcoins are no Longer in BitPay’s Possession
                         14          1. BitPay will prove that on the date of the crediting error BitPay sold the
                         15    200 bitcoins at issue. Additionally, Ox Labs cannot prove that the specific 200
                         16    bitcoins at issue, transferred to BitPay, are still in its possession. In order to
                         17    maintain a cause of action for replevin, which Ox Labs essentially pleads, the
                         18    property must be described with a reasonable degree of certainty, and “as a rule,
                         19    money is not the subject of such an action unless it be marked or designated in
                         20    some manner as to make it specific as regards its capability of identification.” Tsai
                         21    v. Wang, Case No. 17-cv-00614, 2017 WL 2587929 (N.D. Cal. June 14, 2017).
                         22    Further, Bitcoin is a tradeable commodity (citations above CFTC v. McDonnell,
                         23    287 F. Supp. 3d 213, 228-29 (E.D.N.Y. 2018) (cited by Ox Labs)) that changes
                         24    value, and not currency like a dollar that is always worth a dollar.
                         25            Elements Required to Establish BitPay’s Fifth Affirmative Defense
                         26                  That the Remedy for Conversion has Already Been Paid
                         27          1. In order to seek a remedy for conversion, “there must be some reasonable
                         28    connection between the act or omission of the defendant and the damage which the
                                                                      11
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                          1    plaintiff has suffered.” Myers v. Stephens, 233 Cal. App. 2d 104, 119 (1965). It is
                          2    undisputed that the error was committed by Ox Labs, there is no evidence BitPay
                          3    knew of the error, and it is admitted that BitPay brought the error to Ox Labs’
                          4    attention. Thobhani Decl. ¶ 4, 5.
                          5            Elements Required to Establish BitPay’s Sixth Affirmative Defense
                          6                              Of Laches, Waiver and/or Estoppel
                          7          1. Ox Labs concealed material facts.
                          8          2. While knowing or had virtual knowledge of the facts.
                          9          3. To BitPay, who was actually and permissibly ignorant of the truth.
                         10          4. With the actual or virtual intention that BitPay act on the representation
                         11    or concealment; and
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                         12          5. BitPay was induced to act to its detriment.
                         13          Here, the result sought by Ox Labs would enable it to be negligent in
                         14    committing an error, fail to fully investigate, and then take advantage of the
                         15    investment risk and decisions of BitPay. Indeed, such a result would give Ox Labs
                         16    carte blanche to decide which of BitPay’s trades or non-trades it likes, which is
                         17    exactly what Ox Labs has done by seeking valuations on different dates.
                         18          F.     Key Evidence Supporting Defendants’ Affirmative Defenses
                         19    First Affirmative Defense (Failure to State a Claim Upon Which Relief Can Be
                         20    Granted):
                         21          BitPay intends to present the following evidence establishing all elements of
                         22    its first affirmative defense:
                         23          • All evidence outlined in § II.C, supra.
                         24    Second Affirmative Defense (Statute of Limitations):
                         25          BitPay intends to present the following evidence establishing all elements of
                         26    its second affirmative defense:
                         27              • The transaction record printed from SFOX’s platform for July 2015

                         28                 reflects that July 10, 2015 at 17:46 there were two deposits of 100
                                                                       12
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                          1               bitcoins each. These are the 200 bitcoins SFOX erroneously credited to

                          2               BitPay. The transaction record also reveals two sales of 100 bitcoin

                          3               each on July 10, 2015 at 23:58 and 23:59 netting proceeds of

                          4               $28,603.45 and $28,613.11, respectively, for a total of $57,216.56.

                          5               Minus fees, the net proceeds were $57,029.59. Getch Decl. ¶ 5 and

                          6               Exhibit C thereto; Gallippi Decl. ¶ 7 and Exhibit A thereto.

                          7               Furthermore, even if the bitcoin was not liquated that day, all accounts

                          8               arguable connected to the erroneous credit were zeroed-out, eliminating

                          9               all ongoing benefit from the error.

                         10             • Given the ongoing buy-sell nature of bitcoins, it is not possible to
                         11                trace these 200 bitcoins to any particular transaction. Regardless,
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                         12                BitPay trading accounts did hit zero in the days that followed the
                         13                error, so traceability or not, there was no bitcoin to connect to the
                         14                error.
                         15             • BitPay’s only benefit from the erroneously deposited bitcoins is the
                         16                net $57,029.59 it realized from the sale on July 10, 2015. Getch Decl.
                         17                ¶ 8; Gallippi Decl. ¶ 9.
                         18             • There was no wrongful act on the part of BitPay, as neither BitPay
                         19                nor Ox Labs discovered the error until BitPay was the one to notify
                         20                counsel of the crediting error. Getch Decl. Ex. A.
                         21             • Ox Labs, by its own admittance, failed to diligently discover its own
                         22                error, and has even admitted that it cannot know whether BitPay still
                         23                possesses the 200 bitcoins it seeks to recover. “We have no way of
                         24                knowing that BitPay sold the particular 200 coins in question (without
                         25                our permission) and how much money BitPay actually made from
                         26                selling the over-credited Bitcoins.” Thobhani Decl. ¶ 7. BitPay will
                         27                establish that despite lack of traceability – which itself is fatal to Ox
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                                                                       13
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                          1                 Labs’ burden of proof – BitPay did liquidate all bitcoins that could
                          2                 have in theory resulted from the error.
                          3    Third Affirmative Defense (Payment):
                          4          BitPay intends to present the following evidence establishing all elements of
                          5    BitPay’s fourth affirmative defense:
                          6              • Upon discovery of the error, BitPay unconditionally paid 100% of the

                          7                 profit it earned as a result of Ox Labs’ error, so any debt has already

                          8                 been paid and satisfied. For clarity, in its order on Motion for

                          9                 Summary Judgment the Court termed this payment an “offer of

                         10                 settlement.” The payment was not an offer, it was an unconditional

                         11                 payment not linked to any settlement or release.
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                         12    Fourth Affirmative Defense (Ox Labs’ Bitcoins are no Longer in BitPay’s
                         13    Possession):
                         14          BitPay intends to present the following evidence establishing all elements of

                         15    BitPay’s fourth affirmative defense:

                         16              • BitPay makes bitcoin deposits to the exchanges such as SFOX
                         17                 throughout the day as BitPay accumulates bitcoin through its regular
                         18                 services. These deposits are typically in blocks of 100 coins or so.
                         19                 Gallippi Declaration ¶ 3.
                         20              • Orders to sell bitcoin for cash are placed throughout the day, but they
                         21                 are asynchronous and not connected to the deposits. Sell orders are
                         22                 typically based on market activity and liquidity. It is not uncommon
                         23                 for BitPay to let deposits accumulate at the exchange for several
                         24                 hours or days if the market was not good for selling, and it is not
                         25                 uncommon for BitPay to make many sales during the day. Therefore,
                         26                 there is no reason for BitPay to notice any bitcoin balance being out
                         27                 of balance, including on July 10, 2015, or at any other time prior to
                         28                 the error being discovered on February 2017. Gallippi Decl. ¶ 5.
                                                                       14
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                          1             • The transaction record printed from SFOX’s platform for July 2015

                          2                reflects that July 10, 2015 (the same date as alleged in the Complaint),

                          3                at 17:46 there were two deposits of 100 bitcoins each. These are the

                          4                200 bitcoins SFOX erroneously credited to BitPay. The transaction

                          5                record also reveals two sales of 100 bitcoin each on July 10, 2015 at

                          6                23:58 and 23:59 netting proceeds of $28,603.45 and $28,613.11,

                          7                respectively, for a total of $57,216.56. Minus fees, the net proceeds

                          8                were $57,029.59. Getch Decl. ¶ 5 and Exhibit C thereto; Gallippi

                          9                Decl. ¶ 7 and Exhibit A thereto.
                         10             • This transaction register also reflects the daily and ongoing buy-sell
                         11                nature of BitPay transactions on the SFOX platform. Getch Decl. ¶
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                         12                6; Gallippi Decl. ¶ 8.
                         13             • Further testimony will establish that BitPay trading accounts are often
                         14                zeroed out, including in the days that followed the error.
                         15             • Akbar Thobani of Ox Labs also sent a communication to Bryan
                         16                Krohn at BitPay that confirms the same deposits reflected on the July
                         17                2015 transactional record. Getch Decl. ¶ 7 and Exhibit C thereto;
                         18                Kunin Dec. ¶ 3 and Exhibit A thereto. Mr. Thobani’s communication
                         19                also states that the error was discovered as part of a standard account
                         20                reconciliation process, which the Complaint ¶ 15 alleges was
                         21                February 16, 2017.
                         22             • Mr. Thobani’s communication omits the sale of 200 bitcoin on July
                         23                10, 2019, although it sites a withdrawal of 200 bitcoin on July 11,
                         24                2015. Although this does not align with the 200 erroneously
                         25                deposited and sold bitcoin, even if it did, the transaction record
                         26                reflects that the trading price closest in time would be the entry on
                         27                July 11, 2015 at 8:53, at which the trading price was $295, netting
                         28                $59,000. Minus fees, that would be is $58,823.00.
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                          1               • Given the ongoing buy-sell nature of bitcoins, it is not possible to

                          2                  trace these 200 bitcoins to any particular transaction, Rather, BitPay’s

                          3                  only benefit from the erroneously deposited bitcoins is the net

                          4                  $57,029.59 it realized from the sale on July 10, 2015. Getch Decl. ¶

                          5                  8; Gallippi Decl. ¶ 9. Regardless, as noted herein, BitPay trading

                          6                  accounts are often zeroed out, including in the days after the error.

                          7    Fifth Affirmative Defense (The Remedy for Conversion Has Already Been
                          8    Tendered):
                          9           BitPay intends to present the following evidence establishing all elements of
                         10    BitPay’s fifth affirmative defense:
                         11              • On July 12, 2017, BitPay, through counsel, unconditionally sent
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                         12                  counsel for Ox Labs a check payable to San Francisco Open
                         13                  Exchange (“SFOX”) a check in the amount of $57,216.55. Kunin
                         14                  Decl. ¶ 2 and Exhibit A thereto. This payment was unconditional and
                         15                  not tied to any settlement or release.
                         16    Sixth Affirmative Defense (Laches, Waiver and/or Estoppel):
                         17          BitPay intends to present the following evidence establishing all elements of
                         18    BitPay’s sixth affirmative defense:
                         19               • All evidence outlined in section II.C, supra.
                         20          G.      Anticipated Evidentiary Issues
                         21          Based on conversations with counsel, BitPay does not anticipate evidentiary
                         22    issues to be raised by BitPay except for matters that are either resolved or may come
                         23    up at trial, such as what appears to be heavy reliance by Ox Labs on speculation. Ox
                         24    Labs has indicated intent to see a bar on testimony of BitPay’s good faith, and
                         25    barring testimony that there is no connection between current holdings and the error.
                         26    BitPay’s general response is (i) its good faith is critical to showing lack of
                         27    wrongdoing for purposes of conversation, equitable conduct in the face of Ox Labs
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                          1    seeking equity, and it is simply part of the background, i.e., there was an error,
                          2    discovered by BitPay, disclosed by BitPay, all while Ox Labs seeks a windfall by
                          3    taking advantage of the risk and decision-making by BitPay and choosing which
                          4    trades/non-trades it likes in hind-sight; and (ii) Ox Labs has the burden of proof to
                          5    connect the error to current assets, all cases cited by Ox Labs are contingent on
                          6    connection of assets sought to be returned and at least the quality and value of the
                          7    asset allegedly converted, such that Ox Labs’ intended motion/objection seeks to
                          8    prevent BitPay from putting on its defense to a critical element of the claim while
                          9    leaving Ox Labs’ speculation as the only guidance.
                         10           H.     Issues of Law Germane to the Case
                         11           I.     Conversion
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                         12           BitPay maintains that an action for conversion, where no wrongful action was
                         13    committed by the defendant, cannot result in such a manifestly unjust windfall to the
                         14    plaintiff.   The foundation for a conversion claim rests upon the unwarranted
                         15    interference by defendant with the dominion over the property of the plaintiff from
                         16    which injury to the latter results; not every failure to deliver property to the rightful
                         17    owner constitutes a conversion. Saptes v. Dameron Hospital Assn., 114 Cal. App.
                         18    4th 208 (2003). The act of removing personal property from one place to another,
                         19    without an assertion of ownership or preventing the owner from exercising all rights
                         20    of ownership in such personal property, is not enough to constitute conversion. Id.
                         21    Specifically, to constitute a conversion, the refusal to deliver must be absolute and
                         22    amount to a positive denial of the plaintiff’s right of possession. Kagee v. Bencich,
                         23    27 Cal. App. 2d 469, 81 P.2d 265 (3d Dist. 1938). For example, when a third party
                         24    demands goods from a person in possession as a bailee or other holder, the latter’s
                         25    qualified refusal is not conversion if such person’s real and stated purpose is to
                         26    secure a reasonable opportunity to inquire into the claimant’s right. Giacomelos v.
                         27    Bank of America Nat. Trust & Sav. Ass’n, 237 Cal. App. 2d 99, 46 Cal. Rptr. 612
                         28    (1st Dist. 1965).
                                                                          17
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                          1          “[M]ere proof of a demand for the property and a refusal to deliver the
                          2    property does not show conversion, since the defendant may be unable to deliver it,
                          3    as in the case of its loss or destruction.” Steele v. Marsicano, 102 Cal. 666, 36 P.
                          4    920 (1894); Kee v. Becker, 54 Cal. App. 2d 466, 129 P.2d 159 (2d Dist.
                          5    1942). The conversion here was at best on the date Ox Labs credited BitPay.
                          6    BitPay then paid fair market value of the property since the 200 bitcoins were sold,
                          7    and therefore their “demand” of the return of 200 bitcoins at a later date was
                          8    effectively a demand for bitcoins that were not Ox Labs’ bitcoins.
                          9          Under Cal. Civ. § 3336, the value of the converted property is the appropriate
                         10    measure of damages, and resort to the alternative occurs only where a determination
                         11    of damages on the basis of value would be manifestly unjust. Krueger v. Bank of
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                         12    America, 145 Cal.App.3d 204, 215, 193 Cal. Rptr. 322 (1983) . Accordingly, a
                         13    person claiming damages under the alternative provision must plead and prove
                         14    special circumstances that require a measure of damages other than value, and the
                         15    jury must determine whether it was reasonably foreseeable that special injury or
                         16    damage would result from the conversion. Lueter v. State of Cal, 115 Cal. Rptr. 2d
                         17    68 (Cal. App. 3d 2002). The courts have held that plaintiffs have a duty to mitigate
                         18    damages and cannot recover losses they could have avoided through reasonable
                         19    efforts. Bank of Stockton v. Verizon Comm’ns, Inc., No. 09-15909, 2010 WL
                         20    1474053 (9th Cir. April 14, 2010). Absent compelling evidence of what Ox Labs
                         21    would have done with the 200 bitcoins it claims it is owed, the Court should fix its
                         22    worth as the date of conversion. Dimick v. Donahue, Nos. 04-55461, 04-55473, 04-
                         23    55546, 2006 WL 2139990 (9th Cir. Jan. 30, 2006). Finally, even if a party may be
                         24    excused from its own error, the equitable remedy is to return the party that committed
                         25    the mistake to the position they would have been in, but-for the mistake. “It is now
                         26    settled…that money paid under a mistake of fact may be recovered back, however
                         27    negligent the party paying may have been in making the mistake, unless the payment
                         28    has caused such a change in the position of the other party that it would be unjust to
                                                                       18
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                          1    require him to refund.” Midland Nat’l Life Ins. Co. v. Johnson, Case No. 11-CV-
                          2    279-LAB-BGS, 2014 WL 12515160 (S.D. Cal. Mar. 27, 2014) at *5 (quoting Sun’n
                          3    Sand, Inc. v. United California Bank, 21 Cal. 3d 671, 700 (1978)). An important
                          4    concept is that bitcoin is subject to trading and changes in value; indeed, this is the
                          5    reason for SFOX’s existence. It would be unjust to require a “refund” after BitPay
                          6    has made investment decisions and changed its position in doing so, thus letting Ox
                          7    Labs obtain a windfall from its own error.
                          8          In addition, Ox Labs’ attempt to argue that under a conversion theory, they
                          9    would somehow be entitled to the equitable relief of specific property rather than
                         10    compensatory damages, does not follow California law. “The distinction between
                         11    an action for the possession of personal property and one to recover damages for its
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                         12    wrongful conversion is just as broad as that between the common-law actions of
                         13    detinue and trover. One lies for the recovery of the property itself, with damages for
                         14    the wrongful detention of it; the other for the recovery of damages for the wrongful
                         15    conversion of it.” Peterson v. Sherman, 68 Cal. App. 2d 706 (1945). Ox Labs cites
                         16    to an alternative statute, Cal. Civ. Code § 3379 for the proposition that they should
                         17    be entitled to the specific property of 200 bitcoin, which is the California statute for
                         18    replevin, an entirely separate cause of action and remedy. “In California, courts use
                         19    claim and delivery which is identical to the federal remedy of replevin. [F]or claim
                         20    and delivery, ‘it is essential that the specific personal property claimed should be
                         21    described with a reasonable degree of certainty; and as a rule, money is not the
                         22    subject of such an action unless it is marked or designated in some manner so as to
                         23    make it specific as regards its capability of identification.” Tsai v. Wang, Case No.
                         24    17-cv-00614-DMR, 2017 WL 2587929 (N.D. Cal. June 14, 2017) (citing Hillyer v.
                         25    Eggers, 32 Cal. App. 764, 766 (1917)). There is no possibility that Ox Labs could
                         26    have marked or designated “their specific” 200 bitcoins at issue, and nor does it
                         27    maintain that it could. Furthermore, even if such specific identity was not required,
                         28    the error is still completely disconnected from any ongoing or current holdings by
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                                      DEFENDANT BITPAY, INC.’S MEMORANDUM OF CONTENTIONS OF
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                          1    BitPay, current bitcoin is not of a similar quality or value (Horn v. Klatt). Any other
                          2    conclusion would permit the reversal of the risk of investment and related decision
                          3    so that Ox Labs can earn a windfall. Indeed, such a result would give Ox Labs carte
                          4    blanche to decide which of BitPay’s trades or non-trades it likes in hindsight, which
                          5    is exactly what Ox Labs has done by seeking valuations on different dates. BitPay
                          6    is unaware of any case precedent that holds in favor of Ox Labs’ position, and this
                          7    includes the cases cited by Ox Labs, which actually support BitPay given the need
                          8    to connect the conversion to the property sought to be returned, or at least its quality
                          9    and value. Therefore, the only correct measure of damages is the value of the bitcoin
                         10    on the day of the inadvertent crediting error. The value of a bitcoin today is
                         11    dramatically different than at the time of Ox Labs’ error, in addition to the fact that
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                         12    there is no evidence of ongoing benefit to BitPay from the error.
                         13                A. Fallacies in Plaintiff’s Position Regarding Conversion and Remedies
                         14                    Therefor
                         15          Given that actual facts and the Court’s Order on Summary Judgment, Plaintiff
                         16    attempts to recast its requested relief as simply seeking a “return” of the 200 bitcoin
                         17    it erroneously credited to BitPay. Not a single case cited by Ox Labs supports such
                         18    relief under the undisputed facts of this lawsuit – for the most part cases cited by Ox
                         19    Labs support BitPay. Must of the applicable law is already cited herein, but to
                         20    address specific issues as cited by Ox Labs:
                         21              • “California law defines conversion as ‘any act of dominion wrongfully
                         22                 asserted over another’s personal property in denial of or inconsistent
                         23                 with his rights therein.’” Matson v. Vorhariwatt (In re Vorhariwatt),
                         24                 No. 17-cv-1255-WQH-MDD, U.S. Dist. LEXIS 208560, at *9-10 (S.D.
                         25                 Cal. Dec. 18, 2017). Here, there is no “wrongful dominion by BitPay.
                         26              • Bitcoins are personal property for purposes of California law of
                         27                 conversion. See generally Welco Eletronics, Inc. v. Mora, 223 Cal.
                         28                 App. 4th 202, 209-216 (2014). Welco merely stands for the proposition
                                                                      20
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                          1               that intangible property can be subject to conversion. At issue was
                          2               funds charged on a credit card where the value of a dollar is a dollar,
                          3               but the value of a bitcoin today is not a bitcoin tomorrow. Welco does
                          4               not say that if the property is disposed, that the defendant must still
                          5               transfer other assets that are of a different value just because it happens
                          6               to have other similar assets that are of a vastly different value. Plaintiff
                          7               also cites Kremen v. Cohen, 337 F.3d 1024, 1029-1036 (9th Cir. 2003).
                          8               Kremen involves a specific domain name – identifiable and unique.
                          9            • Matson at *10: “When a person who wrongfully possesses a piece of
                         10               property fails to comply with a lawful demand for that property, the
                         11               wrongful possessor’s failure to comply with the lawful demand
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                         12               constitutes conversion.” See also, Cerra v. Blackstone, 172 Cal. App.
                         13               3d 604, 609 (1985) (citations and quotations marks omitted). As noted,
                         14               there was no wrongful conduct here, and BitPay cannot return what it
                         15               no longer has.
                         16            • “Conversion is a strict liability tort. The foundation of the action rests
                         17               neither in the knowledge nor the intent of the defendant. Instead, the
                         18               tort consists in the breach of an absolute duty; the act of conversion
                         19               itself is tortious. Therefore, questions of the defendant's good faith, lack
                         20               of knowledge, and motive are ordinarily immaterial.” Los Angeles
                         21               Federal Credit Union v. Madatyan, 209 Cal. App. 4th 1383, 1387
                         22               (2012) (emphasis added, citations and internal quotations marks
                         23               omitted). Madatyan involved a specific and identifiable car, and the
                         24               award was the insurance proceeds received. BitPay here has paid for
                         25               the proceeds received from the erroneous bitcoin.
                         26            • “If all of the other requirements of a conversion are present, it is
                         27               immaterial that the property in question at the time of the conversion
                         28               may be in the actual possession of a third party.” Kessinger v. Organic
                                                                     21
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                          1               Fertilizers, Inc., 151 Cal. App. 2d 741, 754 (1957). This is not an issue
                          2               here, and damages were the market value regardless.
                          3            • “Available remedies for conversion include specific recovery of
                          4               property with damages for its detention and damages based on the value
                          5               of the property.” Flores v. California Department of Corrections and
                          6               Rehabilitation, 224 Cal. App. 4th 199, 206 (2014), review denied, (Apr.
                          7               30, 2014) (citing Cal. Civ. Code §§ 3336, 3379; Allstate Leasing Corp.
                          8               v. Smith, 238 Cal. App. 2d 128, 132-133 (1965)). These cases merely
                          9               stand for the proposition that specific identifiable property subject to
                         10               conversion may be returnable (television and furniture). Neither case
                         11               addresses the facts here – that bitcoin were subject to trading.
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                         12            • “Where a wrongdoer has converted ... personal property, the injured
                         13               owner must elect between his right of ownership and possession (with
                         14               the remedy of specific recovery) and his right to compensation (with
                         15               the remedies of damages for conversion or quasi-contract recovery of
                         16               value on theory of waiver of tort).” Minsky v. L.A., 11 Cal. 3d 113, 121
                         17               (1974) (citing 2 Witkin, Cal. Procedure (2d ed. 1970) Actions, § 114,
                         18               p. 983.)) As with other cases, this case merely addresses specific
                         19               identifiable property in the possession of defendant (property taken
                         20               upon arrest).
                         21            • It is immaterial to a claim of conversion that the property is in the actual
                         22               possession of a third party. See Pilch v. Milikin, 200 Cal. App. 2d 212,
                         23               224 (1962); Kessinger v. Organic Fertilizers, Inc., 151 Cal. App. 2d
                         24               741, 754 (1957); Brinkley-Douglas Fruit Co. v. Silman, 33 Cal. App.
                         25               643, 651 (1917). As noted, this is grossly misleading. These cases
                         26               address whether conversion can be avoided because specific property
                         27               is in the hands of a third party. None address complete disposal of the
                         28               property into the market.
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                          1            • Under California law, Ox Labs is entitled to return of its 200 Bitcoins
                          2               “or other things of the same kind and quality.” Horn v. Klatt, 65 Cal.
                          3               App. 2d 510, 521 (1944) . Plaintiff also baldly claims that bitcoins are
                          4               entirely “fungible” within the meaning of Horn and the Restatement of
                          5               Restitution principles it relies upon. Horn has no such conclusion and
                          6               actually supports BitPay because Horn addresses the potential to
                          7               transfer fungibles that are of the kind and quality. As noted due to
                          8               wildly fluctuating values, a bitcoin one day is not the same quality as
                          9               the next day, which would switch the burden of investment risk and
                         10               decision-making, allowing a plaintiff to get a windfall. Indeed, such a
                         11               result would give Ox Labs carte blanche to decide which of BitPay’s
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                         12               trades or non-trades it likes in hindsight, which is exactly what Ox Labs
                         13               has done by seeking valuations on different dates
                         14            • Ox Labs claims that BitPay cannot seriously argue that Bitcoins are not
                         15               fungible assets because it is in the business of assisting clients to accept
                         16               Bitcoin and other virtual currencies as an alternative to U.S. Dollars and
                         17               similar currencies. This raises a big issue misunderstood by Ox Labs,
                         18               which is that BitPay clients want cash, so BitPay must liquidated
                         19               bitcoins it receives, and the reason the only damage here is what BitPay
                         20               realized from disposition of the bitcoin that was already paid to Ox
                         21               Labs.
                         22            • Bitcoin is a virtual “currency” – i.e., a medium of exchange –and one
                         23               Bitcoin is worth the same as any other Bitcoin. See generally CFTC v.
                         24               McDonnell, 287 F. Supp. 3d 213, 228-29 (E.D.N.Y. 2018) (holding that
                         25               Bitcoin can be regulated as a commodity and citing scholarly articles
                         26               describing it as a medium of exchange); Symphony FS, Ltd. v.
                         27               Thompson, No. 5:18-cv-3904, 2018 U.S. Dist. LEXIS 214641, at *1 n.1
                         28               (E.D. PA. Dec. 20, 2018) (“Bitcoin is the most prominent example of
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                          1                   cryptocurrency, an electronic form of currency with no tangible
                          2                   format”) (citations omitted). Ox Labs misses the point, which is that as
                          3                   a commodity, the erroneous bitcoin were sold, and not traceable to
                          4                   anything held by BitPay. Just because BitPay happens to have other
                          5                   bitcoin is irrelevant because it is of a different character and value.
                          6                • Ox Labs claims that no California court has ever held that a defendant
                          7                   found liable for conversion of money can avoid the remedy of specific
                          8                   recovery because it cannot return the exact dollar bills that were
                          9                   converted. To the contrary, although the plaintiff must identify a
                         10                   specific sum capable of identification, it is well settled that “it is not
                         11                   necessary that each coin or bill be earmarked.” Haigler v. Donnelly, 18
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                         12                   Cal. 2d 674, 681 (1941); see also Shahood v. Cavin, 154 Cal. App. 2d
                         13                   745, 747-48 (1957). First, Ox Labs overlooks the main issue, which is
                         14                   that a dollar is a dollar, but a bitcoin is subject to trading and significant
                         15                   changes in value. BitPay is happy to, and in fact has, paid the dollar
                         16                   value of the erroneous bitcoin on the date of the error. Second, see Tsai
                         17                   v. Wang, above, which states that even money must be capable of some
                         18                   identification.
                         19                • Ox Labs claims that fact that the value of Bitcoin has fluctuated in the
                         20                   time before and after Bitpay’s refusal to “return” the Bitcoins (that
                         21                   BitPay does not have) is immaterial. Not surprisingly, Ox Labs cited
                         22                   nothing in support of this false and inequitable conclusion.
                         23          II.      Unjust Enrichment
                         24          The phrase “unjust enrichment” does not describe a theory of recovery, but an
                         25    effect: the result of a failure to make restitution under circumstances where it is
                         26    equitable to do so. Lauriedale Assocs. Ltd. v. Wilson, 7 Cal. App. 4th 1439, 1448, 9
                         27    Cal. Rptr. 2d 774 (1992). “Restitution is not mandated merely because one person
                         28    has realized a gain at another’s expense. Rather, the obligation arises when the
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                          1    enrichment obtained lacks any adequate legal basis and thus ‘cannot conscientiously
                          2    be retained.’” A.J. Fistes Corp. v. GDL Best Contractors, Inc., 38 Cal. App. 5th 677
                          3    (2019). Restitution has two purposes: to restore the defrauded party to the position
                          4    he would have had absent the fraud, and to deny the fraudulent party any benefits,
                          5    whether or not foreseeable, which derive from his wrongful act. Nelson v. Serwold,
                          6    687 F.2d 278, 281 (9th Cir. 1982) (emphasis added). It is not under dispute that
                          7    BitPay did not commit any wrongful or fraudulent act. Ox Labs seek restitution for
                          8    their own mistake; a manifestly unjust “remedy” to right a “wrong” that was not
                          9    committed.
                         10          The Restatement (Third) of Restitution and Unjust Enrichment § 50 (2011)
                         11    contemplates the exact scenario in this case; namely, the innocent recipient. “An
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                         12    ‘innocent recipient’ is one who commits no misconduct in the transaction
                         13    concerned…and who bears no responsibility for the unjust enrichment in question.”
                         14    Most importantly, “[t]he liability in restitution of an innocent recipient of
                         15    unrequested benefits may not leave the recipient worse off (apart from the costs of
                         16    litigation) than if the transaction giving rise to the liability had not occurred.” Id. at
                         17    § 50(3). As the comments to Restatement § 50 make clear, there is “no reason why
                         18    the innocent recipient of a benefit, however valuable, should pay anything more.
                         19    Against an innocent recipient, in short, a transaction by which a claimant confers
                         20    unrequested benefits may not be profitable to the claimant.” The California courts
                         21    have long relied on the Restatements for guidance. Professional Tax Appeal v.
                         22    Kennedy-Wilson Holdings, Inc., 29 Cal. App. 5th 230 (2018). In relying on the
                         23    Restatement (Third) of Restitution, California courts have recognized that the object
                         24    of the disgorgement remedy is one of the cornerstones of the law of restitution and
                         25    unjust enrichment, and the profit for which the wrongdoer is liable is to the extent
                         26    their net increase is attributable to the underlying wrong. Krueger v. Wyeth, Inc.,
                         27    2019 WL 2743942 (C.D. Cal. July 1, 2019) (emphasis added). As stated again and
                         28    again in case law, wrongdoing is a cornerstone of unjust enrichment. The innocent
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                          1    recipient cannot be held to bear the financial burden of the plaintiff’s mistake. This
                          2    is exactly what Ox Labs seeks to do, and it is invalid as a matter of law.
                          3    III.   JURY TRIAL (L.R. 16-4.4)
                          4           A.    Issues Triable to the Jury
                          5           The following issues are triable to the jury:
                          6           1.    Whether Ox Labs adequately pled the essential factual elements of
                          7                 conversion;2
                          8           2.    The fair market value of the bitcoin at the time of the alleged
                          9                 conversion;3
                         10           3.    The existence of any special damages resulting from BitPay’s conduct;4
                         11                 BitPay, however, reserves the right to assert that given the lack of
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                         12                 evidence supporting the special damages, that it becomes a question for
                         13                 the Court.
                         14           4.    Amount of any such damages, should there still be such a question to
                         15                 present to the jury.5
                         16           B.    Issues Tried to the Court
                         17           The following issues are triable to the Court:
                         18           1.    Whether Ox Labs failed to state a claim upon which relief can be
                         19    granted;6
                         20
                         21
                               2 CACI 2100 (Conversion – Essential Factual Elements)
                         22    3 CACI 2102 (Presumed Measure of Damages for Conversion)
                               4 Id.; Krueger v. Bank of America, 145 Cal. App. 3d 204, 214 (1983) (“A plaintiff
                         23
                               seeking recovery under the alternative provision of the statute must therefore plead
                         24    and prove the existence of ‘special circumstances which require a different
                         25    measure of damages to be applied.’ Having done so, the trier of fact must then
                               determine ‘whether it was reasonably foreseeable to a prudent person, having
                         26    regard for the accompanying circumstances, that injury or damage would likely
                         27    result from his wrongful act.’”)
                               5 Id.
                         28    6 Fed. R. Civ. Proc. Rule 12(b)(6)
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                          1           2.     Whether Ox Labs has pled, as a matter of law, theories of recovery of
                          2    unjust enrichment or restitution;7
                          3           3.     Whether equitable relief is available in the form of the return of
                          4    “specific property” or the correct measure is the value of the converted property at
                          5    the time of conversion, including whether bitcoin, including the specific bitcoin at
                          6    issue in this case, is capable of a return.8
                          7           4.     Whether there is a basis to submit the question of damages, at least not
                          8    without a limiting question to the date of the error, to the jury.
                          9           5.     Whether interest should be waived to avoid a windfall to Plaintiff,
                         10    especially interest accruing after payment on July 12, 2017. Bank of Stockton v.
                         11    Verizon Comm’ns, Inc., No. 09-15909, 2010 WL 1474053 (9th Cir. April 14, 2010)
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                         12    (habiting interest to prevent a windfall to plaintiff).
                         13
                               IV.    ATTORNEYS’ FEES (L.R. 16-4.5)
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                                      Neither party is seeking attorneys’ fees.
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                         21    7 BitPay maintains that Ox Labs has not pled unjust enrichment as a matter of law.
                               “The mere fact that a person obtains a benefit from another is not of itself
                         22    sufficient to require that person to make restitution therefor. Cal. Med. Ass'n, Inc.
                         23    v. Aetna U.S. Healthcare of Cal., Inc., 94 Cal.App.4th 151, 171 n. 23, 114
                               Cal.Rptr.2d 109 (2001). Thus, even when a party has received a benefit from
                         24    another, it is required to make restitution only if the circumstances of its receipt or
                         25    retention are such that, as between the two parties, the retention of the benefit is
                               unjust. Id. This requires wrongful conduct on the part of the party receiving the
                         26    benefit. See County of San Bernardino v. Walsh, 158 Cal.App.4th 533, 542–43, 69
                         27    Cal.Rptr.3d 848 (2007).
                               8 Supra, H(I) (maintaining that Ox Labs has not adequately pled equitable relief of
                         28    recovery of specific property, as this is not a remedy under §3336).
                                                                          27
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                          1                                    Respectfully submitted,
                          2                                    RUSS AUGUST & KABAT
                               DATED: October 28, 2019
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                          5                                    By:        Benjamin T. Wang
                          6                                          Benjamin T. Wang
                          7                                          Attorneys for Defendant
                          8                                          BitPay, Inc.
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                          1                              CERTIFICATE OF SERVICE
                          2          I hereby certify that the counsel of record who are deemed to have consented
                          3    to electronic service are being served with a copy of this document via the Court’s
                          4    CM/ECF system per Local Rule CV-5(a)(3). Unless service is governed by F.R.
                          5    Civ. P. 4 or L.R. 79-5.3, service with this electronic NEF will constitute service
                          6    pursuant to the Federal Rules of Civil and Criminal Procedure, and the NEF itself
                          7    will constitute proof of service for individuals so served.
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                               DATED: October 28, 2019              By:     Benjamin T. Wang
                         11                                               Benjamin T. Wang
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